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 1                                  CERTIFICATE OF SERVICE

 2         Pursuant to FRBP 7005 and FRCP 5(b), I certify that I am an employee of Law Offices of
   Amy N. Tirre, APC, that I am over the age of 18 and not a party to the above-referenced case, and
 3 that on February 26, 2019 I filed and served the foregoing DECLARATION OF KYLE
   KAMPFEN IN SUPPORT OF MOTION FOR RELIEF FROM THE AUTOMATIC STAY
 4
   FOR CAUSE OR IN THE ALTERNATIVE FOR ADEQUATE PROTECTION
 5 (11 U.S.C. §362(d)(1), (2))

 6 __X__           BY NOTICE OF ELECTRONIC FILING: through Electronic Case Filing
                   System of the United States Bankruptcy Court, District of Nevada, to the
 7                 individuals and/or entities at their email addresses as set forth below:
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     XX             BY MAIL: by placing the document listed above in a sealed envelope with
11                  Postage thereon fully prepaid in the United States Mail at Reno, Nevada, and
                    addressed as set forth below. I am readily familiar with my office's practice of
12
                    collection and processing correspondence for mailing. Under that practice it would be
13                  deposited with the U.S. Postal Service on 26 February 2019, with postage thereon fully
                    prepaid in the ordinary course of business.
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 2 Carol Stream IL 60197-6463                    San Francisco CA 94139-8847
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 4 Dept LA 24014                                 8500 Westmoreland Dr.
   Pasadena CA 91185-4104                        Concord, NC 28027
 5
   ECI Fuel Systems                              Exide
 6 1794 West 11th Street                         c/o Exide Technologies
 7 Upland, CA 91786                              PO Box 933479
                                                 Atlanta GA 31193-3479
 8
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 9 PO Box 580045                                 Attn: Accounting Dept.
   Charlotte, NC 28258-0045                      PO Box 2801
10                                               Daytona Beach, FL 32120
11
   Kansas Speedway                               Net Jet Sales Inc.
12 Attn: Accounting Dept.                        PO Box 933300
   PO Box 2801                                   Atlanta, GA 31193-3300
13 Daytona Beach, FL 32120

14 Pacific Metal Fab LLC                         Phoenix Motor Speedway
15 311 Chambers Street                           7602 S. Avondale Blvd.
   PO Box 41090                                  Avondale, AZ 85323
16 Eugene OR 97404

17 Richmond Int’l Raceway                        Soligent Distribution LLC
   600 East Laburnum Ave.                        1500 Valley House, Drive, Suite 210
18 Richmond VA 23222                             Rohnert Park, CA 94928
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   Talladega Superspeedway                       US Tower Corp
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   PO Box 2801                                   Woodlake, CA 93286
21 Daytona Beach, FL 32120

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   WEX Fleet                                     Xtreme Manufacturing LLC
23 PO Box 6293                                   8350 Eastgate Road
   Carol Stream, IL 60197                        Henderson, NV 89015
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          DATED February 26, 2019.
25
                                          /s/ Genevieve DeLucchi
26
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27

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                                             Page 10
